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                                                                     Lindsey C. Hill
                        LAWYERS




                                                                  14
                                                                  15                                      UNITED STATES DISTRICT COURT
                                                                  16               CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                                  17
                                                                  18 TREVOR BAUER,                                         Case No. 8:22-cv-00868 JVS (ADSx)
                                                                  19                         Plaintiff,                    Assigned for all purposes to the Hon.
                                                                                                                           James V. Selna
                                                                  20             vs.                                       Referred to Magistrate Judge Autumn D.
                                                                                                                           Spaeth
                                                                  21 LINDSEY C HILL AND NIRANJAN
                                                                     FRED THIAGARAJAH,                                     DEFENDANT AND
                                                                  22                                                       COUNTERCLAIMANT LINDSEY
                                                                              Defendants.                                  HILL'S EX PARTE APPLICATION
                                                                  23                                                       REQUESTING MODIFICATION OF
                                                                     LINDSEY C. HILL,                                      THE SCHEDULING ORDER;
                                                                  24                                                       DECLARATION OF MICHELLE
                                                                              Counterclaimant,                             PRESCOTT
                                                                  25
                                                                          vs.                                              Action Filed:      April 25, 2022
                                                                  26                                                       Discovery Deadline: September 1, 2023
                                                                     TREVOR BAUER,                                         Pretrial Conference: January 22, 2024
                                                                  27                                                       Trial Date:        February 13, 2024
                                                                              Counter-Defendant.
                                                                  28
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                                                                   1                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                                   2 I.          INTRODUCTION
                                                                   3             Defendant and counterclaimant Lindsey Hill (“Hill”) submits this Ex Parte
                                                                   4 Application seeking a limited extension of the discovery motion cutoff and expert
                                                                   5 disclosure dates in order to complete meet and confer communications with counsel
                                                                   6 for plaintiff and counterdefendant Trevor Bauer (“Bauer”) regarding production of the
                                                                   7 Major League Baseball ("MLB") records as ordered by Judge Spaeth, and to address
                                                                   8 the scheduling of Bauer's deposition. Hill does not seek to continue the January 22,
                                                                   9 2024 Pretrial Conference or the February 13, 2024 trial date. The only modifications
                                                                  10 Hill requests are as follows:
                                                                  11                                            Current Deadlines         Proposed Deadlines
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                                                                  12    Non-Expert Discovery Cut-Off            9/1/2023                  10/2/2022
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                                                                  13    Initial Disclosure of Experts           9/8/2023                  10/9/2023
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                                                                  14    Rebuttal Disclosure of Experts          10/13/2023                10/27/2023
                                                                  15    Expert Discovery Cut-Off                11/10/2023                11/27/2023
                                                                  16
                                                                  17             On August 3, 2023, at approximately noon, Plaintiff's counsel was provided
                                                                  18 notice of the ex parte application. Plaintiff's counsel advised that they would oppose
                                                                  19 the ex parte application, but that they were willing to stipulate to extend the deadlines
                                                                  20 for the purpose of allowing more time for depositions only. They would not agree to
                                                                  21 the dates proposed by counsel for Hill. Counsel for Hill informed counsel for Plaintiff
                                                                  22 that they still intended to seek ex parte relief because Plaintiff's proposed deadlines did
                                                                  23 not provide enough time to obtain, review and provide the MLB documents to the
                                                                  24 experts or incorporate them into the depositions yet to be taken. Declaration of
                                                                  25 Michelle Prescott ("Prescott Decl."). ¶16, Ex. E.
                                                                  26             A.          Major League Baseball Records
                                                                  27             On May 18, 2023 Defendant filed her Motion to Compel Plaintiff to Produce
                                                                  28 documents, specifically seek to enforce requests for MLB records. Declaration of
                                                                                                             5             Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                   1 Michelle Prescott ("Prescott Decl."). ¶ 3; On June 28, 2023, Judge Spaeth granted in
                                                                   2 part Hill's Motion to Compel Further Responses and ordered production by Bauer of
                                                                   3 MLB records responsive to the following requests:
                                                                   4
                                                                   5                         REQUEST FOR PRODUCTION NO. 87:
                                                                   6                         Produce all DOCUMENTS containing statements, interviews or
                                                                                             testimony YOU have provided in connection with any investigation
                                                                   7                         regarding allegations of physical violence, abuse, sexual battery, sexual
                                                                                             abuse, battery, assault, and/or rape made against YOU, including
                                                                   8                         without limitation, any investigation conducted by any LAW
                                                                                             ENFORCEMENT authorities or Major League Baseball.
                                                                   9
                                                                  10                         REQUEST FOR PRODUCTION NO. 92:
                                                                  11                         Produce all DOCUMENTS that reflect communications with Major
                                                                                             League Baseball regarding allegations of physical violence, abuse,
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                                                                                             sexual battery, sexual abuse, battery, assault, and/or rape against YOU.
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                                                                                             REQUEST FOR PRODUCTION NO. 114:
                        LAWYERS




                                                                  14
                                                                                             Produce all DOCUMENTS related to Major League Baseball's
                                                                  15                         suspension of YOU and/or placing YOU on administrative leave.
                                                                  16
                                                                       Prescott Decl. ¶ 4; Exh. A. Judge Spaeth gave Bauer 30 days to produce the documents
                                                                  17
                                                                       and further written responses, such that they were due on or before July 28, 2023 Id.
                                                                  18
                                                                                 After carefully considering the fully briefed Motion, and Plaintiff's Opposition
                                                                  19
                                                                       thereto, Judge Spaeth granted in part Defendant's Motion. Judge Spaeth specifically
                                                                  20
                                                                       noted "the Court is not bound by the MLB's contract requirements of confidentiality
                                                                  21
                                                                       with Bauer and Hill and that Bauer has waived his privacy objections by failing to
                                                                  22
                                                                       assert them. . ." in regards to Defendant's Request for Production ("RFP") No. 114
                                                                  23
                                                                       seeking documents related to MLB's suspension of Bauer. See Prescott Decl. ¶ 4; Exh.
                                                                  24
                                                                       A, Transcript 51:19-22.
                                                                  25
                                                                                 Judge Spaeth also determined that Defendant was entitled to documents
                                                                  26
                                                                       containing statements, interviews, or testimony Bauer provided in connection with any
                                                                  27
                                                                       investigations concerning physical violence, abuse, sexual battery, sexual abuse,
                                                                  28
                                                                                                                         6                 Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                   1 battery, assault and/or rape, including any investigations conducted by law
                                                                   2 enforcement or MLB, in response to Hill's RFP No. 87. Specifically, Judge Spaeth
                                                                   3 determined the "investigations conducted by MLB or law enforcement have all the
                                                                   4 same underlying facts at issue in this case, and while there may be a privacy right, it
                                                                   5 does not apply to these specific documents, and the interests are outweighed by Hill's
                                                                   6 compelling need for the information for the claims and defenses at issue." See Prescott
                                                                   7 Decl. ¶ 4; Exh. A, Transcript 52:1-6.
                                                                   8             Finally, Judge Spaeth also determined that Defendant was entitled to documents
                                                                   9 reflecting Bauer's communications with MLB regarding allegations of physical
                                                                  10 violence, abuse, sexual battery, sexual abuse, battery, assault, and/or rape in response
                                                                  11 to Hill's RFP No. 92. Judge Spaeth concluded Hill "has met her burden of establishing
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                                                                  12 that the requested information is relevant and that any rights of privacy are outweighed
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                                                                  13 by Hill's compelling need for the information for the claims and defenses asserted in
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                                                                  14 this case." Prescott Decl. ¶ 4; Exh. A, Transcript 52:8-12.
                                                                  15             Bauer served his supplemental responses on July 28, 2023. Prescott Decl., ¶ 5,
                                                                  16 Exh. B.
                                                                  17             Despite Judge Spaeth's clear overruling of Bauer's objections based on privacy
                                                                  18 and confidentiality, in his supplemental responses, he again asserted the same
                                                                  19 objections and refused to produce the transcripts, his notice of suspension, the
                                                                  20 arbitration award, or any of the other information called for by these requests.
                                                                  21             Instead, Bauer stated:
                                                                  22                         Bauer further objects to this Request to the extent that it seeks
                                                                                             documents that Bauer has a statutory, contractual, or other duty to
                                                                  23                         maintain as confidential, including, but not limited to, documents,
                                                                                             related to confidential arbitration proceedings. Bauer further objects to
                                                                  24                         this Request to the extent that it is overly broad, unduly burdensome,
                                                                                             and not proportional to the needs of the case.
                                                                  25
                                                                                                                 *     *     *
                                                                  26                         Bauer will not produce the documents related to the administrative
                                                                                             leave and suspension imposed by Major League Baseball for which he
                                                                  27                         has a contractual duty to maintain as confidential. Subject to and
                                                                                             without waiving that objection and the other foregoing objections,
                                                                  28                         Bauer will produce non-privileged, responsive documents in his
                                                                                                                          7               Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                   1                         possession, custody or control to the extent they can be found after a
                                                                                             reasonably diligent search.
                                                                   2
                                                                   3    Prescott Decl., ¶ 5; Exh. B. Rather than providing the substantive responses that Judge
                                                                   4 Spaeth ordered, Bauer simply added more objections to his supplemental responses.
                                                                   5 Id. More critically, Bauer produced very few MLB documents, which consisted mostly
                                                                   6 of information already in the public domain, such as tweets by his agent and the MLB,
                                                                   7 a Forbes article, and press releases. Prescott Decl., ¶ 5.
                                                                   8             On July 31, 2023, counsel for Hill wrote a meet and confer letter to Bauer's
                                                                   9 counsel regarding the deficiencies in the responses and the dearth of MLB production.
                                                                  10 Prescott Decl., ¶ 7; Exh. C. In order to correct certain typographical errors, on August
                                                                  11 2, 2023, Bauer's counsel served Corrected Amended Responses to the Requests for
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                                                                  12 Production. Prescott Decl., ¶ 8; Exh. D. Bauer's counsel purported to add even more
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                                                                  13 belated objections to their responses, instead of narrowing the issues as Judge Spaeth
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                                                                  14 ordered. Id. In fact, Judge Spaeth determined at the June 28, 2023 hearing that because
                                                                  15 Bauer had not asserted privacy objections in his initial responses, he could not do so at
                                                                  16 a later date. Exh. A, Transcript, p. 51:15-22. Bauer did not produce any additional MLB
                                                                  17 documents in connection with his Corrected Amended Responses. Prescott Decl., ¶ 8;
                                                                  18 Exh. D.
                                                                  19             On August 2, 2023, counsel followed up with a telephonic meet and confer
                                                                  20 conference. Prescott Decl., ¶ 9. The parties discussed in detail the deposition schedule,
                                                                  21 the MLB production records, the rescheduling of Bauer's deposition and the extension
                                                                  22 of the discovery deadlines on this case as follows:
                                                                  23             1.          Nonexpert discovery cut-off 10/2/2022
                                                                  24             2.          Initial Expert Disclosures 10/9/2023
                                                                  25             3.          Rebuttal Disclosures 10/27/2023
                                                                  26             4.          Expert Discovery cut-off 11/27/2023
                                                                  27 Prescott Decl., ¶ 10; Exh. E. The parties also discussed the fact that counsel for Hill
                                                                  28 would need to bring this Ex Parte Application to seek modification of the Amended
                                                                                                             8              Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                   1 Scheduling Order if they were not able to come to agreement. Prescott Decl., ¶ 10.
                                                                   2             Unfortunately, the parties were unable to timely reach agreement on this matter.
                                                                   3 Therefore, counsel for Hill brings this Ex Parte Application in an abundance of caution.
                                                                   4             The MLB records are critical, which is why Hill's counsel went to the time and
                                                                   5 expense of bringing a motion to compel their production. Prescott Decl., ¶ 14. As Judge
                                                                   6 Spaeth acknowledged, they go directly to Bauer's claims for defamation and
                                                                   7 interference with contract, and are not subject to any confidentiality provision binding
                                                                   8 on this Court. Prescott Decl., ¶ 4; Exh. A.
                                                                   9             The parties have, with considerable difficulty, scheduled the depositions of more
                                                                  10 than 15 witnesses in the month of August, beginning on August 4. Prescott Decl., ¶ 11.
                                                                  11 The MLB documents are absolutely necessary for these depositions, and Hill's defense
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                                                                  12 is substantially impaired by not having access to the MLB records before the
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                                                                  13 depositions proceed. Prescott Decl., ¶ 11. Counsel for Hill is being unfairly prejudiced
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                                                                  14 by the refusal to produce these documents in compliance with Judge Spaeth's Order,
                                                                  15 when they are integral to prepare for depositions as well as Ms. Hill's defense.
                                                                  16             In order to timely bring Bauer's lack of compliance before Judge Spaeth, Hill
                                                                  17 requests that the Court modify the Amended Scheduling Order to extend the deadline
                                                                  18 for close of nonexpert discovery from September 1, 2023 to October 2, 2023. Hill
                                                                  19 further requests that the Court modify the Amended Scheduling Order as follows:
                                                                  20             1.          Initial Expert Disclosures 10/9/2023
                                                                  21             2.          Rebuttal Disclosures 10/27/2023
                                                                  22             3.          Expert Discovery cut-off 11/27/2023
                                                                  23             Bauer's counsel has not yet indicated whether they agree to these extensions, and
                                                                  24 has indicated a willingness to work on the deposition scheduling to facilitation all
                                                                  25 parties' attendance. Prescott Decl., ¶ 11. Counsel for Hill has already prepared a Joint
                                                                  26 Stipulation seeking to address the issue of the MLB record production. Prescott Decl.,
                                                                  27 ¶ 13.            Because Hill is just seeking extension of discovery deadlines, and not
                                                                  28 continuance of the trial date, no party will be prejudiced by the brief extension of
                                                                                                              9               Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                    1 deadlines sought by Hill.
                                                                    2             B.          Bauer's Deposition Should Proceed In-Person on a Reasonable
                                                                    3                         Date and at a Reasonable Time
                                                                    4             Bauer is currently under contract playing baseball in Japan, according to his
                                                                    5 attorneys. For months, Hill's counsel has been requesting dates for Bauer to appear for
                                                                    6 an in-person deposition. Prescott Decl., ¶ 15. However, Bauer's counsel has taken the
                                                                    7 position that he will only appear remotely. Id.
                                                                    8             Worse still, the only date that Bauer's counsel has offered for deposition is the
                                                                    9 last day on which discovery must be completed, August 25, 2023, beginning at 5:00
                                                                   10 p.m. PST. This is simply untenable, for several reasons.
                                                                   11             Hill has a right to depose Bauer in person, since he is the party-litigant who haled
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                                                                   12 her before this Court and selected this jurisdiction. Moreover, it is questionable
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                                                                   13 whether such a proceeding would satisfy the prerequisites for valid, admissible
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                                                                   14 deposition testimony.
                                                                   15             It is anticipated that Bauer's deposition will take a full 7 hours. Prescott Decl., ¶
                                                                   16 15. It is unreasonable for Bauer's counsel to demand that the deposition be taken on the
                                                                   17 last day for completion of depositions, beginning at the end of the day, apparently to
                                                                   18 continue until midnight. Further, what if there is an instruction not to answer or other
                                                                   19 discovery dispute that needs to be addressed? Counsel for Hill would not be able to
                                                                   20 seek emergency relief from the Magistrate Judge in their only opportunity to depose
                                                                   21 Bauer.
                                                                   22             Counsel for Hill therefore requests that the deadline for the nonexpert discovery
                                                                   23 cutoff be extended from September 1, 2023 to October 2, 2023. This will allow the
                                                                   24 parties to obtain and review the MLB documents, and schedule Bauer's deposition in
                                                                   25 more timely fashion.
                                                                   26             The MLB documents are not just relevant to nonexpert discovery. Hill has
                                                                   27 retained experts to address various issues, as well as Bauer's claims for defamation and
                                                                   28 loss of endorsement contracts. Prescott Decl., ¶ 14. Clearly, the MLB documents are
                                                                                                               10               Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                    1 necessary for all of these experts' reviews and opinions.
                                                                    2             At present, the Amended Scheduling Order provides for the following expert
                                                                    3 disclosure deadlines:
                                                                    4             Initial Disclosures – September 8, 2023
                                                                    5             Rebuttal Disclosures – October 13, 2023
                                                                    6             Expert Discovery Cutoff – November 10, 2023
                                                                    7             Following the Magistrate Judge's procedures, Hill has prepared a Joint
                                                                    8 Stipulation addressing Bauer's failure to comply with Judge Spaeth's Order and the
                                                                    9 setting of Bauer's deposition to be heard on August 30, 2023. Assuming that Judge
                                                                   10 Spaeth orders production of the MLB documents, the experts will need sufficient time
                                                                   11 to review them and form their opinions. Hill therefore requests that expert disclosure
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                                                                   12 and discovery deadlines be continued for as follows:
                                                                                  Initial Disclosures – October 9, 2023
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                                                                   13
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                                                                   14             Rebuttal Disclosures – October 27, 2023
                                                                   15             Expert Discovery Cutoff – November 27, 2023
                                                                   16             Hill is not seeking to continue the deadlines for filing Motions in Limine, hearing
                                                                   17 the Final Pre Trial Conference, filing the Findings of Fact and Conclusions of Law, or
                                                                   18 the trial date. Hill is merely attempting to keep this case on track by completing
                                                                   19 discovery in orderly fashion. The need for an extension of time is not due to any action
                                                                   20 or inaction on Hill's part, and no party will be prejudiced by the brief extensions sought
                                                                   21 by Hill. To the contrary, the extensions of the nonexpert and expert discovery deadlines
                                                                   22 will allow the parties to more fully pursue meet and confer efforts on these matters,
                                                                   23 seek appropriate relief from the Magistrate Judge, and avoid delay of the final
                                                                   24 adjudication of this case. Hill therefore respectfully requests that this Ex Parte
                                                                   25 Application be granted.
                                                                   26 II.         LEGAL ARGUMENT
                                                                   27             A.          Bauer Should be Ordered to Comply With Judge Spaeth's June 28,
                                                                   28                         2023 Order
                                                                                                                      11                Case No. 8:22-cv-00868 JVS (ADSx)
                                                                        I1915490-1 MER-5137                        LINDSEY HILL'S EX PARTE APPLICATION REQUESTING
                                                                                                                           MODIFICATION OF THE SCHEDULING ORDER
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                                                                    1             Hill has good grounds to seek extension of the discovery deadlines as requested
                                                                    2 herein, as she has a substantial likelihood of prevailing on the relief she seeks from
                                                                    3 Judge Spaeth. Her only burden necessary to prevail on a Motion seeking to compel
                                                                    4 compliance with Judge Spaeth's June 28, 2023 Order is to show that Bauer has not
                                                                    5 complied with the Court's Order. Sunglass Designs, Inc. v. Wild Style Sunglasses, No.
                                                                    6 CV-08-1984-PHX-DGC, 2009 WL 2827953, at *1 (D. Ariz. 2009) (citing United
                                                                    7 States v. Ayres, 166 F.3d 991, 994 (9th Cir.1999)). It was never made clear to counsel
                                                                    8 for Hill in meet and confer communications why Bauer's counsel believes they can
                                                                    9 stand on privacy and confidentiality objections that have already been overruled by this
                                                                   10 Court, and simply disregard Judge Spaeth's Order, refusing to produce relevant
                                                                   11 documents.
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                                                                                  “It is self-evident that ‘courts cannot function if litigants may, with impunity,
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                                                                   12
                                                                   13 disobey lawful orders.’” Chamorro v. Puerto Rican Cars, Inc., 304 F.3d 1, 4 (1st Cir.
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                                                                   14 2002) (quoting HMG Prop. Investors, 847 F.2d 908, 916 (1st Cir. 1988) (upholding a
                                                                   15 dismissal with prejudice of plaintiff's case for plaintiff's failure to file a court ordered
                                                                   16 status report after the plaintiff was forewarned that failure to comply with the order
                                                                   17 could result in dismissal with prejudice).
                                                                   18             There are punitive measures that Hill could seek because of Bauer's refusal to
                                                                   19 comply with Judge Spaeth's Order, but that is not what Hill requests here. Refusal to
                                                                   20 abide by a Court's Order is disrespectful and grounds for a finding of contempt. After
                                                                   21 “a prima facie showing of contempt is made, the burden shifts to the alleged contemnor
                                                                   22 to show why he or she should not be held in contempt.” United States v. Harper, Nos.
                                                                   23 CV-09-0703-PHX-JAT, MC-09-00035-PHX-JAT, 2009 WL 2983204, at *1 (D. Ariz.
                                                                   24 2009) (citing United States v. Rylander, 460 U.S. 752, 757 (1983), and Ayres, 166 F.3d
                                                                   25 at 994). Such a showing must be established “categorically and in detail.” In re Walker,
                                                                   26 257 B.R. 493, 497 (Bankr. N.D. Ohio 2001) (quoting Donovan v. Mazzola, 716 F.2d
                                                                   27 1226, 1240 (9th Cir. 1983)). Hill has no intention of asking for a contempt finding; she
                                                                   28 merely wants production of the MLB documents that Bauer was ordered to produce.
                                                                                                            12             Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                    1             As Judge Spaeth acknowledged, "the Court is not bound by the MLB's contract
                                                                    2 requirements of confidentiality with Bauer and Hill, and that Bauer has waived his
                                                                    3 privacy objections by failing to assert them in his initial response to the RFP." Exh. A,
                                                                    4 Transcript, p. 51. Judge Spaeth further found that "Hill has met her burden of
                                                                    5 establishing that the requested information is relevant and that any rights of privacy are
                                                                    6 outweighed by Hill's compelling need for the information for the claims and defenses
                                                                    7 asserted in this case." Exh. A, Transcript, pp. 51-52.
                                                                    8             Clearly, if Bauer was suspended and lost endorsement contracts because of
                                                                    9 testimony by other accusers before the MLB, this is directly relevant to his claims of
                                                                   10 defamation and interference with contract against Hill. Counsel for Bauer already lost
                                                                   11 the Motion to Compel and should be made to comply with Judge Spaeth's Order.
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                                                                   12             Because Hill has acted with all due haste in attempting to meet and confer about
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                                                                   13 Bauer's July 28, 2023 production and responses, and has promptly brought this Motion
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                                                                   14 seeking to amend the Amended Scheduling Order as to the discovery motion cutoff
                                                                   15 and expert disclosure dates only, Hill respectfully submits that she is entitled to the
                                                                   16 relief requested. Counsel for Bauer could have made production and provided
                                                                   17 supplemental responses before July 28, as Judge Spaeth suggested, but they declined
                                                                   18 to do so. Instead, they waited until the last day, so that Hill had only two days in which
                                                                   19 to meet and confer and seek to prepare a joint stipulation.
                                                                   20             Hill has shown good cause and prompt action to address Bauer's refusal to
                                                                   21 produce the MLB documents that Judge Spaeth found were relevant and not subject to
                                                                   22 any confidentiality or privacy protections. Hill therefore respectfully requests that the
                                                                   23 Court grant this Ex Parte Application in order to allow the parties to pursue meaningful
                                                                   24 meet and confer communications, follow the Court's procedures for filing a Joint
                                                                   25 Stipulation, and achieve resolution of this significant issue as soon as possible.
                                                                   26             B.          There Is A Good Cause For Granting This Ex Parte Application
                                                                   27             The Court is permitted to grant ex parte relief upon a showing of “good
                                                                   28 cause.” “Such application shall state the reasons therefore, and may be granted upon
                                                                                                                 13               Case No. 8:22-cv-00868 JVS (ADSx)
                                                                        I1915490-1 MER-5137                         LINDSEY HILL'S EX PARTE APPLICATION REQUESTING
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                                                                    1 a showing of good cause.” Semiserve Inc. v. Semicon Servs., LLC, 2014 U.S. Dist.
                                                                    2 LEXIS 198013 (C.D. Cal. 2014.) Federal Rule of Civil Procedure 16(b)(4) states
                                                                    3 that a Scheduling Order “may be modified only for good cause and with the judge's
                                                                    4 consent.” Fed. R. Civ. P. 16 (b)(4). The “good cause” standard primarily considers
                                                                    5 the diligence of the party seeking the amendment of the Scheduling Order. Johnson
                                                                    6 v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). The district court
                                                                    7 may modify the Scheduling Order if the moving party shows that, even with the
                                                                    8 exercise of due diligence, he or she was unable to meet the timetable set forth in the
                                                                    9 order. Id.
                                                                   10             The focus of the inquiry is on the moving party, and if the moving party has
                                                                   11 not been diligent, the motion to modify a Scheduling Order may be denied. Zivkovic
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                                                                   12 v. S. Cal. Edison Co., 302 F.3d 1080, 1087 (9th Cir. 2002) (good cause exists “if [the
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                                                                   13 schedule] cannot reasonably be met despite the diligence of the party seeking the
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                                                                   14 extension”); Johnson, supra, 975 F.2d at 609. Here, good cause exists for the Court
                                                                   15 to continue dates in the Amended Scheduling Order with respect to the discovery
                                                                   16 deadlines for nonexpert and expert discovery.
                                                                   17             In determining whether good cause exists, courts look to see: “(1) that [the
                                                                   18 party] was diligent in assisting the Court in creating a workable Rule 16 order ...; (2)
                                                                   19 that [its] noncompliance with a Rule 16 deadline occurred or will occur,
                                                                   20 notwithstanding [its] diligent efforts to comply, because of the development of
                                                                   21 matters which could not have been reasonably foreseen or anticipated at the time of
                                                                   22 the Rule 16 scheduling conference ...; and (3) that [it] was diligent in seeking
                                                                   23 amendment of the Rule 16 order, once it became apparent that [it] could not comply
                                                                   24 with the order.” Jackson v. Laureate, Inc., 186 F.R.D. 605, 608 (E.D. Cal. 1999)
                                                                   25 (citing Eckert Cold Storage, Inc. v. Behl, 943 F. Supp. 1230, 1233 (E.D. Cal. 1996)).
                                                                   26             In this case, Hill filed her Motion to Compel production of the MLB
                                                                   27 documents in May of 2023. Prescott Decl., ¶ 3. Bauer was ordered to produce those
                                                                   28 documents no later than July 28, 2023. Prescott Decl., ¶ 4; Exh. A. Despite Judge
                                                                                                              14               Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                    1 Spaeth's Order, Bauer reasserted his objections and refused to produce the MLB
                                                                    2 transcripts, submissions, arbitration order, and other relevant documents. Hill has
                                                                    3 brought this Ex Parte Application with all due diligence, just three business days
                                                                    4 later after meeting and conferring with Bauer's counsel, in order to allow her to seek
                                                                    5 relief from Bauer's refusal to comply with that Order and refusal to make reasonable
                                                                    6 accommodations for his deposition as addressed below.
                                                                    7             C.          The Alternative Deposition Method Plaintiff Proposes Would Not
                                                                    8                         Satisfy Defendant's Particular and Legitimate Need for In-Person
                                                                    9                         Deposition.
                                                                   10             Bauer is currently under contract playing baseball in Japan, according to his
                                                                   11 attorneys. For months, Hill's counsel has been requesting dates for Bauer to appear for
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                                                                   12 an in-person deposition. Prescott Decl., ¶ 15. However, Bauer's counsel has taken the
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                                                                   13 position that he will only appear remotely. Id.
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                                                                   14             Worse still, the only date that Bauer's counsel has offered for deposition is the
                                                                   15 last day on which depositions must be completed; i.e., August 25, 2023, beginning at
                                                                   16 5:00 p.m. PST. Id. This is simply untenable, for several reasons.
                                                                   17             First, Hill has a right to conduct an in-person deposition of Bauer. “When a
                                                                   18 plaintiff elects to file a lawsuit in a particular jurisdiction, it assumes the responsibility
                                                                   19 of making itself available to the forum.” Gawhara for Ready Made Clothes Co. v.
                                                                   20 Evergreen Marine Corp., 2001 AMC 2797, 2802 (W.D. Cal. 2001).
                                                                   21             Not only would Japan need to have the necessary facilities to conduct a
                                                                   22 videoconferencing deposition, “a court reporter from this jurisdiction familiar with the
                                                                   23 rules of the court and authorized to record testimony would be another likely, if not
                                                                   24 indispensable, attendee.” U.S. v. $160,066.98 from Bank of America, 202 F.R.D. 624,
                                                                   25 629. Additionally, the deposition officer must also be authorized to administer oaths in
                                                                   26 the district where the witness is located. See Loucas G. Matsas Salvage & Towing
                                                                   27 Maritime Co. v. M/T Cold Spring, 1997 U.S. Dist. LEXIS 2415, *5-*6 (E.D. La. Mar.
                                                                   28 5, 1997) (excluding testimony of witness who was located in Poland because oath was
                                                                                                               15             Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                    1 administered by court reporter in New Orleans). Certainly, these issues are more easily
                                                                    2 resolved with an in-person deposition.
                                                                    3             Then, too, there is the issue of what happens if there is an instruction not to
                                                                    4 answer or other discovery dispute that counsel for Hill feels must be brought before
                                                                    5 the Magistrate Judge to resolve. As the court noted in U.S. v. $160,066.98 from Bank
                                                                    6 of America, depositions conducted in foreign countries are inherently problematic:
                                                                    7                         [The Court's] authority would be compromised in this case
                                                                                              by the remoteness of a deposition venue in [Paraguay], even
                                                                    8
                                                                                              leaving aside the question whether special arrangements
                                                                    9                         would be required through the host country's government or
                                                                                              judicial system. It would be logistically difficult and
                                                                   10
                                                                                              inefficient to resolve disputes that may arise in the course
                                                                   11                         of that discovery without a federal judge or magistrate in
                                                                                              the country applying the rules applicable to the litigation in
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                                                                   12
                                                                                              this jurisdiction. The court's authority to intervene in the
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                                                                   13                         foreign nationals' depositions aboard could be similarly
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                                                                                              compromised...
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                                                                   14
                                                                   15 U.S. v. $160,066.98, supra, 202 F.R.D. at 630.
                                                                   16             A deposition notice is all that is needed to require the attendance of parties at
                                                                   17 their depositions. “[A]n ‘examining party may set the place for the deposition of
                                                                   18 another party wherever he wishes subject to the power of the court to grant a protective
                                                                   19 order under Rule 26(c)(2) designating a different place.’ ” Farquhar v. Shelden, 116
                                                                   20 F.R.D. 70, 72 (E.D.Mich.1987) (citation omitted). Bauer has not moved for a protective
                                                                   21 order making special arrangements for his deposition in this case.
                                                                   22             Even presuming that Japan has adequate facilities available, and that issues
                                                                   23 involving the administering of oaths could be worked out and discovery disputes could
                                                                   24 be minimized, converting an in-person deposition to videoconferencing would be
                                                                   25 prejudicial to Hill's defense. The authentication of documents becomes particularly
                                                                   26 necessary in a case such as this, where numerous documents being relied on by the
                                                                   27 parties are at issue. There are literally thousands of pages in the Pasadena Police
                                                                   28 Department ("PPD") records and Domestic Violence Restraining Order proceedings
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                                                                    1 ("DVRO") that have been produced and will be the subject of examination. Prescott
                                                                    2 Decl., ¶ 14. Hill has every reason to believe that Judge Spaeth's June 28, 2023 Order
                                                                    3 will be enforced, and that thousands of pages of additional MLB documents will also
                                                                    4 be produced. Id.
                                                                    5             Any writing offered in evidence should be accompanied by competent proof
                                                                    6 showing its genuineness. Buchanan v. State, 575 So. 2d 704 (Fla. 3d DCA 1991).
                                                                    7 “Exhibit creation and authentication are a reasonably anticipated component” of the
                                                                    8 defense of this case and therefore, the need for in-person deposition becomes more
                                                                    9 acute. U.S. v. $160,066.98, 202 F.R.D. at 629. It would be difficult to question the
                                                                   10 Plaintiff with any degree of comprehension and understanding concerning the PPD and
                                                                   11 DVRO records, and the MLB production, without Plaintiff and his representatives
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                                                                   12 being personally present.
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                                                                   13             A videoconference deposition would prevent Hill from gathering such evidence.
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                                                                   14 She would be further disadvantaged without the opportunity “to see the witness and to
                                                                   15 evaluate the witness' demeanor, facial reactions and expressions.” Arrocha v.
                                                                   16 McAuliffe, 109 F.R.D. 397, 402 (D. D.C. 1986). This is because videoconferencing,
                                                                   17 while it is streamed in by video, is not conducted in “real time” and in some parts of
                                                                   18 the world has considerable delay in transmission with related problems in video
                                                                   19 quality.
                                                                   20             “Unless an opposing party prevents the plaintiff from appearing in the forum, a
                                                                   21 plaintiff's failure to make itself available to the proceedings in the forum justifies the
                                                                   22 dismissal of the complaint.” Gawhara, supra, 2001 AMC at 2802. Here, Hill is not
                                                                   23 intending to seek dismissal. Rather, she is quite reasonably requesting the Court's
                                                                   24 assistance in extending discovery deadlines to allow her to meet and confer with
                                                                   25 Bauer's counsel to resolve the issues surrounding the setting of his deposition, and seek
                                                                   26 assistance of the Magistrate Judge if necessary to more reasonably schedule his
                                                                   27 testimony. “[The Defendants] should not be forced to litigate this case without the
                                                                   28 benefit of deposing [España's] witnesses and examining the documents, which provide
                                                                                                               17              Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                    1 the basis for [España's] claims.” Id. at 2804, citing Hyde & Death v. Baker, 24 F.3d
                                                                    2 1162, 1166-67 (9th Cir. 1994).
                                                                    3 III.        CONCLUSION
                                                                    4             The parties have acted diligently in conducting discovery in this complex case,
                                                                    5 and have resolved many discovery issues informally. Other than the refusal to produce
                                                                    6 the MLB documents that Judge Spaeth ordered to be disclosed, and the issues
                                                                    7 surrounding Bauer's deposition, Hill does not anticipate that more law and motion will
                                                                    8 be required. By extending the requested deadlines and allowing counsel to engage in
                                                                    9 further meet and confer efforts, the Court will facilitate the parties' attempts to resolve
                                                                   10 the recently-arisen discovery disputes in this case, and streamline issues for trial. Hill
                                                                   11 therefore respectfully requests that this Ex Parte Application to modify the Amended
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                                                                   12 Scheduling Order be granted.
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                                                                   14 DATED: August 3, 2023                    WESIERSKI & ZUREK LLP
                                                                   15
                                                                   16                                          By: /s/ Michelle R. Prescott
                                                                                                                   CHRISTOPHER P. WESIERSKI
                                                                   17
                                                                                                                   MICHELLE R. PRESCOTT
                                                                   18                                              Attorney for Defendant, Lindsey C. Hill
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                                                                                                                    18                Case No. 8:22-cv-00868 JVS (ADSx)
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                                                                    1                           DECLARATION OF MICHELLE R. PRESCOTT
                                                                    2             I, Michelle R. Prescott, declare:
                                                                    3             1.          I am an attorney at law licensed to practice before all the courts of the
                                                                    4 State of California and am a partner with Wesierski & Zurek LLP, counsel of record
                                                                    5 for defendant/counterclaimant, Lindsey C. Hill.
                                                                    6             2.          The following facts are within my own personal knowledge, except as to
                                                                    7 those matters stated to be on information and belief, which I believe to be true. If
                                                                    8 called as a witness, I could and would competently testify to these facts.
                                                                    9             3.          On May 18, 2023 Defendant filed her Motion to Compel Plaintiff to
                                                                   10 Produce documents, specifically seek to enforce requests for MLB records.
                                                                   11             4.          On June 28, 2023, Judge Spaeth granted in part Hill's Motion to Compel
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                                                                   12 Further Responses and ordered production by Bauer of MLB records responsive to
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                                                                   13 Requests for Production Nos. 87, 92, and 114, as well as supplemental responses. A
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                                                                   14 true and correct copy of excerpts of Judge Spaeth's June 28, 2023 ruling are attached
                                                                   15 as Exhibit A. Judge Spaeth gave Bauer 30 days to produce the records and indicated
                                                                   16 that the parties could agree to an earlier production date. See Exhibit A.
                                                                   17             5.          Bauer served his supplemental responses on July 28, 2023. A true and
                                                                   18 correct copy of Bauer's supplemental responses to the Requests for Production Nos.
                                                                   19 87, 92, and 114 is attached as Exhibit B.
                                                                   20             6.          Rather than providing the substantive responses that Judge Spaeth
                                                                   21 ordered, Bauer simply added more objections to his supplemental responses. More
                                                                   22 critically, Bauer produced very few MLB documents, which consisted mostly of
                                                                   23 information already in the public domain, such as tweets by his agent and the MLB,
                                                                   24 a Forbes article, and press releases.
                                                                   25             7.          On July 31, 2023, I wrote a meet and confer letter to Bauer's counsel
                                                                   26 regarding the deficiencies in the responses and the dearth of MLB production. A true
                                                                   27 and correct copy of the July 31, 2023 letter is attached as Exhibit C.
                                                                   28             8.          In order to correct certain typographical errors, on August 2, 2023,
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                                                                    1 Bauer's counsel served Corrected Amended Responses to the Requests for
                                                                    2 Production. A true and correct copy of Bauer's Corrected Amended Responses is
                                                                    3 attached as Exhibit D. Bauer's counsel purported to add even more belated objections
                                                                    4 to their responses, instead of narrowing the issues as Judge Spaeth ordered. In fact,
                                                                    5 Judge Spaeth determined at the June 28, 2023 hearing that because Bauer had not
                                                                    6 asserted privacy objections in his initial responses, he could not do so at a later date.
                                                                    7 Exh. A, Transcript, p. 51:15-22. Bauer did not produce any additional MLB
                                                                    8 documents in connection with his Corrected Amended Responses.
                                                                    9             9.          On August 2, 2023, all counsel followed up with a telephonic meet and
                                                                   10 confer conference. The parties discussed in detail the deposition schedule, the
                                                                   11 availability of certain third party witnesses, the possibility of rescheduling Bauer's
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                                                                   12 deposition for two four-hour sessions on consecutive dates, and other proposals to
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                                                                   13 resolve their discovery disputes.
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                                                                   14             10.         In our meet and confer discussions on August 2, 2023, I advised Bauer's
                                                                   15 counsel that we would be bringing this Ex Parte Application unless we could agree to
                                                                   16 extend the discovery deadlines. I proposed that the parties stipulate to continuing the
                                                                   17 dates in the Scheduling Order as follows:
                                                                   18                         1.    Nonexpert discovery cut-off 10/2/2022
                                                                   19                         2.    Initial Expert Disclosures 10/9/2023
                                                                   20                         3.    Rebuttal Disclosures 10/27/2023
                                                                   21                         4.    Expert Discovery cut-off 11/27/2023
                                                                   22    A true and correct copy of my August 2, 2023 email is attached as Exhibit D. Bauer's
                                                                   23    counsel indicated that they would consider the stipulation, but needed to confer
                                                                   24    among themselves first.
                                                                   25             11.         The parties have, with considerable difficulty, scheduled the depositions
                                                                   26 of more than 15 witnesses in the month of August, beginning on August 4. The MLB
                                                                   27 documents are absolutely necessary for these depositions, and Hill's defense is
                                                                   28 substantially impaired by not having access to the MLB records before the depositions
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                                                                    1 proceed. Counsel for Hill is being unfairly prejudiced by the refusal to produce these
                                                                    2 documents in compliance with Judge Spaeth's Order, when they are integral to prepare
                                                                    3 for depositions as well as Ms. Hill's defense. Bauer's counsel has not yet indicated
                                                                    4 whether they agree to these extensions, and has indicated a willingness to work on the
                                                                    5 deposition scheduling to facilitation all parties' attendance.
                                                                    6             12.         Out of an abundance of caution, we moved forward with the Ex Parte
                                                                    7 Application to protection the deadlines.
                                                                    8             13.         My office also sent Bauer's counsel a proposed Joint Stipulation
                                                                    9 regarding enforcement of Judge Spaeth's Order on the MLB documents, seeking to
                                                                   10 have the MLB issue heard on August 30, 2023.
                                                                   11             14.         The MLB records are critical, which is why my office went to the time
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                                                                   12 and expense of bringing a motion to compel their production. As Judge Spaeth
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                                                                   13 acknowledged, they go directly to Bauer's claims for defamation and interference with
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                                                                   14 contract, and are not subject to any confidentiality provision binding on this Court.
                                                                   15 There are literally thousands of pages in the Pasadena Police Department ("PPD")
                                                                   16 records and Domestic Violence Restraining Order proceedings ("DVRO") that have
                                                                   17 been produced and will be the subject of examination. Hill has every reason to believe
                                                                   18 that Judge Spaeth's June 28, 2023 Order will be enforced, and that thousands of pages
                                                                   19 of additional MLB documents will also be produced. Given the volume of the PPD,
                                                                   20 DVRO and MLB documents, taking Bauer's deposition in an in-person proceeding
                                                                   21 would alleviate much of the delay and burden in attempting to screenshare documents
                                                                   22 through remote proceedings overseas. The MLB documents are not just relevant to
                                                                   23 nonexpert discovery. Hill has retained experts to address her various issues, as well
                                                                   24 as Bauer's claims for defamation and loss of endorsement contracts. Clearly, the MLB
                                                                   25 documents are necessary for all of these experts' reviews and opinions.
                                                                   26             15.         Bauer is currently under contract playing baseball in Japan, according to
                                                                   27 his attorneys. For months, Hill's counsel has been requesting dates for Bauer to appear
                                                                   28 for an in-person deposition. However, Bauer's counsel has taken the position that he
                                                                                                                                            Case No. 8:22-cv-00868 JVS (ADSx)
                                                                        I1915490-1 MER-5137                            LINDSEY HILL'S EX PARTE APPLICATION REQUESTING
                                                                                                                               MODIFICATION OF THE SCHEDULING ORDER
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                                                                    1 will only appear remotely. Worse still, the only date that Bauer's counsel has offered
                                                                    2 for deposition is the last day on which discovery must be completed, August 25, 2023,
                                                                    3 beginning at 5:00 p.m. PST. It is anticipated that Bauer's deposition will take a full 7
                                                                    4 hours. It is unreasonable for Bauer's counsel to demand that the deposition be taken
                                                                    5 on the last day for completion of depositions, beginning at the end of the day,
                                                                    6 apparently to continue until midnight. Further, what if there is an instruction not to
                                                                    7 answer or other discovery dispute that needs to be addressed? Counsel for Hill would
                                                                    8 not be able to seek emergency relief from the Magistrate Judge in their only
                                                                    9 opportunity to depose Bauer.
                                                                   10             16.         On August 3, 2023, at approximately noon, I provided Plaintiff's counsel
                                                                   11 with notice of the ex parte application. Plaintiff's counsel advised that they would
WESIERSKI & ZUREK LLP

                                  LAKE FOREST, CALIFORNIA 92630




                                                                   12 oppose the ex parte application, but that they were willing to stipulate to extend the
                                        29 ORCHARD ROAD




                                                                   13 deadlines for the purpose of allowing more time for depositions only. They would
                                          (949) 975-1000
                        LAWYERS




                                                                   14 not agree to the dates proposed by counsel for Hill. I informed counsel for Plaintiff
                                                                   15 we still intended to seek ex parte relief because the deadlines proposed by Plaintiff's
                                                                   16 counsel did not provide enough time to obtain, review and provide the MLB
                                                                   17 documents to the experts or incorporate their content into the depositions yet to be
                                                                   18 taken. Attached hereto as Exhibit "E" is a true and correct copy of the email.
                                                                   19
                                                                   20             I declare under penalty of perjury under the laws of the State of California
                                                                   21 that the foregoing is true and correct.
                                                                   22
                                                                   23             Executed on this 3rd day of August, 2023, at Lake Forest, California.
                                                                   24
                                                                   25                                                        /s/Michelle R. Prescott
                                                                   26                                                  Michelle R. Prescott
                                                                   27
                                                                   28
                                                                                                                                            Case No. 8:22-cv-00868 JVS (ADSx)
                                                                        I1915490-1 MER-5137                            LINDSEY HILL'S EX PARTE APPLICATION REQUESTING
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